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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                             Chapter 11

JOERNS WOUNDCO HOLDINGS, INC.,                     Case No. 19-11401 (___)

         Debtor.


In re:                                             Chapter 11

DYNAMIC MEDICAL SYSTEMS, LLC,                      Case No. 19-11402 (___)

         Debtor.


In re:                                             Chapter 11

GLOBAL MEDICAL, LLC,                               Case No. 19-11403 (___)

         Debtor.


In re:                                             Chapter 11

JOERNS LLC,                                        Case No. 19- 11413(___)

         Debtor.


In re:                                             Chapter 11

JOERNS HEALTHCARE, LLC,                            Case No. 19-11404 (___)

         Debtor.


In re:                                             Chapter 11

JOERNS HEALTHCARE MEXICO HOLDINGS                  Case No. 19-11405 (___)
I LLC,

         Debtor.


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In re:                                             Chapter 11

JOERNS HEALTHCARE MEXICO HOLDINGS                  Case No. 19-11409 (___)
II LLC,

         Debtor.


In re:                                             Chapter 11

JOERNS HEALTHCARE PARENT LLC,                      Case No. 19-11411 (___)

         Debtor.


In re:                                             Chapter 11

JOERNS SERVICES LLC,                               Case No. 19-11412 (___)

         Debtor.


In re:                                             Chapter 11

RECOVERCARE, LLC,                                  Case No. 19-11408 (___)

         Debtor.


In re:                                             Chapter 11

RCJH CAMBRIDGE TECHNOLOGIES, LLC,                  Case No. 19-11406 (___)

         Debtor.


In re:                                             Chapter 11

RCJH MERGER SUB I, LLC,                            Case No. 19-11407 (___)

         Debtor.




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    In re:                                                                 Chapter 11

    SCOTT TECHNOLOGY, LLC,                                                 Case No. 19-11410 (___)

              Debtor.


                  MOTION OF DEBTORS FOR ENTRY OF AN ORDER DIRECTING
                   JOINT ADMINISTRATION OF THE DEBTORS’ CHAPTER 11
                      CASES PURSUANT TO BANKRUPTCY RULE 1015(b)

             The debtors and debtors in possession in the above captioned cases (collectively, the

“Debtors” or “Company”) hereby move (the “Motion”) this Court for entry of an order

substantially in the form attached hereto as Exhibit A (the “Order”) granting the relief described

below. In support of this Motion, the Debtors rely upon and incorporate by reference the

Declaration of John Regan in Support of the Debtors’ Chapter 11 Petitions and First Day

Pleadings (the “First Day Declaration”),1 filed concurrently herewith. In further support of the

Motion, the Debtors, by and through their undersigned counsel, respectfully state as follows:

                                                  RELIEF REQUESTED

                         By this Motion, the Debtors seek entry of the Order directing the joint

administration of these Chapter 11 Cases (as defined below) for procedural purposes only.

Specifically, the Debtors request that the Court maintain one file and one docket for all of the

Debtors’ Chapter 11 Cases under the case of Joerns WoundCo Holdings, Inc. and that these

Chapter 11 Cases be administered under a consolidated caption, as follows:




1            Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the First Day Declaration.

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 In re:                                                        Chapter 11

 JOERNS WOUNDCO HOLDINGS, INC.,                                Case No. 19-______ (___)
 et al.,
                                                               Jointly Administered
          Debtors.


                      The Debtors also propose to include the following footnote in each pleading filed

and notice mailed by the Debtors, listing the Debtors in these Chapter 11 Cases and the last four

digits of their tax identification numbers along with the address of the Debtors’ corporate

headquarters:

                      The Debtors in these chapter 11 cases, along with the last four digits of each
                      Debtor’s federal tax identification number, include: Joerns WoundCo
                      Holdings, Inc. (3555); Dynamic Medical Systems, LLC (6816); Global
                      Medical, LLC (0696); Joerns LLC (3625); Joerns Healthcare, LLC (1510);
                      Joerns Healthcare Mexico Holdings I LLC (2869); Joerns Healthcare
                      Mexico Holdings II LLC (2942); Joerns Healthcare Parent LLC (2727);
                      Joerns Services LLC (3441); RecoverCare, LLC (1634); RCJH Cambridge
                      Technologies, LLC (5541); RCJH Merger Sub I, LLC (3709); and Scott
                      Technology, LLC (8047). The address of the Debtors’ corporate
                      headquarters is 2430 Whitehall Park Drive, Suite 100, Charlotte, NC 28273.

                      The Debtors also request the Clerk of this Court to make separate docket entries in

each of the above-captioned cases substantially as follows:

                      The Bankruptcy Court has entered an order in accordance with
                      Federal Rule of Bankruptcy Procedure 1015(b) that provides for the
                      joint administration of the chapter 11 cases of Joerns WoundCo
                      Holdings, Inc., a Delaware corporation, and its affiliated debtors.
                      The docket in Case No. 19 - ____ should be consulted for all matters
                      affecting these cases.

                      JURISDICTION, VENUE, AND PREDICATES FOR RELIEF

                      This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference, dated February 29, 2012 (Sleet, C.J.). This



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is a core proceeding under 28 U.S.C. § 157(b). Venue of these Chapter 11 Cases (as defined

below) and this Motion is proper in this District under 28 U.S.C. §§ 1408 and 1409.

                      The predicates for the relief requested by this Motion are Rule 1015 of the Federal

Rules of Bankruptcy Procedures (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules

of the United States Bankruptcy Court for the District of Delaware (the “Local Bankruptcy

Rules”).

                      Pursuant to Local Bankruptcy Rule 9013-1(f), the Debtors consent to the entry of a

final judgment or order with respect to this Motion if it is determined that this Court lacks Article

III jurisdiction to enter such final order or judgment absent consent of the parties.

                                              BACKGROUND

                      On June 24, 2019 (the “Petition Date”), the Debtors each commenced with this

Court a voluntary case under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Debtors have filed a separate procedural motion requesting that the Chapter 11 Cases

be jointly administered. The Debtors continue to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No creditors’ committee has been appointed by the Office of the United States Trustee for the

District of Delaware (the “U.S. Trustee”), nor has a trustee or examiner been appointed in these

Chapter 11 Cases.

                      The Company is a leading vertically-integrated manufacturer, distributor, and

service provider of healthcare beds, therapeutic surfaces, patient handling products, and negative

pressure wound therapy devices, with a number of industry-leading brands, including Ultracare®

XT bed frame and Hoyer® lifts. Founded as the Joerns Brothers Furniture Company in 1889, the

Company entered the healthcare industry in 1960. Today, with a strategically developed national


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distribution infrastructure, and unmatched service capabilities and brand recognition, the Company

has strong, timely, and efficient connections with leading healthcare providers across the care

continuum, serving approximately 5,000 skilled nursing facilities, long-term care facilities,

hospice agencies, and homecare agencies annually, as well as the United States Department of

Veterans Affairs.

                         The Company benefits from industry-leading manufacturing capabilities, providing

a competitive advantage in key markets. In particular, many of the Debtors’ products are

manufactured at a facility in Mexico that is owned and operated by a non-Debtor affiliate.2 The

Company has 130 distribution locations and other facilities located throughout the United States,

and executes approximately 62,000 transactions per month, consisting of deliveries, repairs,

retrievals, and shipments of its products. The Debtors are headquartered in Charlotte, North

Carolina and have approximately 1,100 employees in the United States.

                         On June 21, 2019, the Company executed that certain restructuring support

agreement (the “RSA”) with certain of its prepetition secured lenders who hold approximately

86% of the outstanding principal amount of the First Lien Obligations and 100% of the outstanding

principal amount of the Second Lien Obligations. On June 21, 2019 prior to the Petition Date, and

pursuant to the RSA, the Debtors began solicitation of votes on their Joint Prepackaged Chapter

11 Plan of Joerns WoundCo Holdings, Inc. and its Affiliated Debtors (the “Prepackaged Plan”)

pursuant to sections 1125 and 1126(b) of the Bankruptcy Code. The Debtors expect that the

Prepackaged Plan will be accepted by all classes entitled to vote in excess of the statutory

thresholds specified in section 1126(c) of the Bankruptcy Code. The Prepackaged Plan provides



2        The Debtors have non-Debtor affiliates in Canada, Mexico, the Netherlands, Belgium, and the United Kingdom (the
“Foreign Affiliates”). The Foreign Affiliates are not Debtors in these Chapter 11 Cases.

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for a comprehensive financial restructuring that will allow the Company to substantially de-lever

its balance sheet, and enhance its ability to service customers, thereby positioning itself for future

success and growth.

                      Additional factual background and information regarding the Debtors, including

their business operations, their corporate and capital structure, their restructuring activities, the

RSA, and the events leading to the commencement of these Chapter 11 Cases, is set forth in detail

in the First Day Declaration.

                                            BASIS FOR RELIEF

                      Bankruptcy Rule 1015(b) provides that “if two or more petitions are pending in the

same court by or against . . . a debtor and an affiliate, the court may order a joint administration of

the estates” of such debtor and its affiliates. Fed. R. Bankr. P. 1015(b).

                      Additionally, Local Bankruptcy Rule 1015-1 provides in relevant part as follows:

                      An order of joint administration may be entered . . . upon the filing
                      of a motion for joint administration . . . supported by an affidavit,
                      declaration, or verification, which establishes that the joint
                      administration of two or more cases pending in this Court under title
                      11 is warranted and will ease the administrative burden for the Court
                      and the parties.

Local Bankruptcy Rule 1015-1.

                      Joint administration is routinely granted in this Court for interrelated chapter 11

cases and is generally noncontroversial. See, e.g., In re Southcross Energy Partners, L.P., No. 19-

10702 (MFW) (Bankr D Del. Apr. 2, 2019); In re Pernix Sleep, Inc., No. 19-10323 (CSS) (Bankr.

D. Del. Feb. 21, 2019); In re Things Remembered, Inc., No. 19-10234 (KG) (Bankr. D. Del. Feb.,

7, 2019); In re Bertucci's Holdings, Inc., No. 18-10894 (MFW) (Bankr D Del. Apr., 17, 2018); In

re Bonanza Creek Energy, Inc., No. 17-10015 (KJC) (Bankr D Del. Jan. 5, 2017); In re Key Energy


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Servs., Inc., No. 16-12306 (BLS) (Bankr. D. Del. Oct. 25, 2016); In re Seventy Seven Fin. Inc.,

No. 16-11409 (LSS) (Bankr D Del. June 8, 2016).3

                         The Debtors submit that joint administration of the Chapter 11 Cases is proper

under Bankruptcy Rule 1015 and Local Bankruptcy Rule 1015-1. Joerns WoundCo Holdings, Inc.

is the ultimate parent of all the other Debtors. Therefore, the Debtors are “affiliates,” as that term

is defined in section 101(2) of the Bankruptcy Code. Accordingly, the Bankruptcy Code and

Bankruptcy Rules authorize the Court to grant the relief requested herein.

                         The First Day Declaration establishes that joint administration of the Debtors’

Chapter 11 Cases is warranted because it will ease the administrative burden on the Court and all

parties in interest. The Debtors anticipate that notices, applications, motions, other pleadings,

hearings, and orders in these Chapter 11 Cases may affect all of the Debtors. If each Debtor’s case

were administered independently, there would be a number of duplicative pleadings and

overlapping service. This unnecessary duplication of identical documents would be wasteful of

the resources of the Debtors’ estates, as well as the resources of this Court and of other parties in

interest.

                         Joint administration will permit the Clerk of the Court to use a single general docket

for all of the Debtors’ Chapter 11 Cases and to combine notices to creditors and other parties in

interest by ensuring that all parties in interest will be able to review one docket to stay apprised of

the various matters before the Court regarding all of the Debtors’ Chapter 11 Cases. Moreover,

supervision of the administrative aspects of the Debtors’ Chapter 11 Cases by the U.S. Trustee

will be simplified. Therefore, joint administration will promote the economical and efficient



3         Because of the voluminous nature of the order cited herein, such orders have not been attached to this Motion. Copies
of these orders are available upon request to the Debtors’ proposed counsel.

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administration of the Debtors’ estates to the benefit of the Debtors, their creditors, the U.S. Trustee,

and the Court.

                      Joint administration will not give rise to any conflict of interest among the Debtors’

estates. The rights of the Debtors’ respective creditors will not be adversely affected by the

proposed joint administration because the Debtors will continue as separate and distinct legal

entities, will continue to maintain separate books and records, and will provide information as

required in the consolidated monthly operating reports on a debtor-by-debtor basis. If applicable,

each creditor may file a proof of claim against the applicable estate in which it allegedly has a

claim or interest and will retain whatever claims or interests it has against the particular estate.

The recoveries of all creditors will be enhanced by the reduction in costs resulting from joint

administration of the Debtors’ Chapter 11 Cases. The Court will also be relieved of the burden of

scheduling duplicative hearings, entering duplicative orders, and maintaining redundant files.

                      No administrative or scheduling orders previously entered in these Chapter 11

Cases will require modification if this Motion is granted. Mailing lists in each of these Chapter

11 Cases will be consolidated for future noticing requirements.

                                                    NOTICE

                      Notice of this Motion has been provided to the following parties, or, in lieu thereof,

their counsel: (i) the U.S. Trustee; (ii) the First Lien Steering Committee; (iii) Ankura Trust

Company, as the First Lien Agent; (iv) Cetus Capital III, L.P.; (v) PineBridge; (vi) U.S. Bank

National Association, as the Second Lien Agent; (vii) holders of the thirty (30) largest unsecured

claims against the Debtors (on a consolidated basis); (viii) the Internal Revenue Service; (ix) the

United States Attorney for the District of Delaware; (x) any such other party entitled to notice

pursuant to Local Bankruptcy Rule 9013-1(m); and (xi) any such other party entitled to receive


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notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in view of the facts and

circumstances, such notice is sufficient and no other or further notice need be provided.

                                          NO PRIOR REQUEST

                      No previous request for the relief sought herein has been made by the Debtors to

this or any other Court.



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                                             CONCLUSION

                      WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court grant the relief requested in this Motion, the Order, and such other and further relief

as is just and proper.

 Dated: June 24, 2019                                    Respectfully submitted,

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